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                Exhibit B
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                                            NOTICE PLAN

         The Court has Ordered Wells Fargo to produce the class list on September 9, 2013. The

notice process can be initiated ten days thereafter and completed as described below.

         Notice will then issue in the following manner:

         1.       By direct mail to Wells Fargo loan servicing customers. Gilardi & Co. will

process and mail the Notice and follow up to track down notices returned due to an invalid

address.

         2.       Where Wells Fargo communicates with a customer via e-mail, and provides the

email address with the class list, Gilardi & Co. will also e-mail notice to that class member.

         3.       Plaintiffs’ counsel will issue a press release that contains the Notice.

         4.       Plaintiffs’ counsel will post the Notice on the firm website.




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